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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DAVID C. WARTH,
Plaintiff, CIVIL ACTION FILE NO.

1:23-cv-05072-MLB

Vv.

THOMAS WILLIAMSON,

Defendant.

DEFENDANT’S EXHIBITS TO STATEMENT OF UNDISPUTED
MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT

Ex. F — Preliminary Hearing Recording (filed manually)
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Case 1:23

Requested by. phen Perey ™]}
Defendants Name IOV Co WOry
Case # ] W “OS 3a.
CERTIFICATION
GEORGIA, GWINNETT COUNTY

THIS IS TO CERTIFY THAT THIS IS A TRUE AND
CORRECT COPY OF THE CA E AY OLS ne A THE
PRELIMINARY HEARING ON TH DAY OF ,20 i | +
GIVEN UNDER MY,QFFICIAL Oey AND SEAL
OF THE COURT THIS Lfacs,)

DEPOFY CLERK,
MAGISTRATE COURT OF GWINNETT COUNTY, GEORGIA

